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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
x
YOLANDA DELIA ARIAS SANTOS, Civil Action No.: 1:18-cv-10835
Plaintiff
“ECF CASE”
vs.
AMENDED COMPLAINT
FOR DAMAGES

JURY TRIAL DEMANDED
LATAM AIRLINES GROUP S.A., a foreign
Corporation,
Defendant

 

COMPLAINT

Plaintiff, through her attorneys, brings this action against the Defendant and

respectfully alleges as follows:

1. This action seeks damages arising out of Defendant’s actions and negligence on

September 12, 2018.

JURISDICTION AND VENUE

2. This court has jurisdiction pursuant to 28 U.S.C. § 1331, as Plaintiff's claim is

asserted under the Montreal Convention.

3, Venue in this district is proper pursuant to 28 U.S.C. § 1391, as the Defendant is

found in this district and is subject to personal jurisdiction in this district.
THE PARTIES

4. Atall times material, Plaintiff is a citizen and resident of Ecuador.

5. At all times material, Defendant, Latam Airlines Group, S.A. (hereinafter

“1 ATAM”), is a foreign corporation authorized to do business under the laws of

the state of New York, operating daily flights into and out of New York’s John F.

Kennedy International Airport.
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At all times material, Defendant was and is a commercial carrier engaged in the

business of carrying fare-paying passengers on regularly scheduled flights, in

aircraft owned, leased, operated, and/or controlled by LATAM and its employees,

agents, and/or representatives acting within the course and scope of their

employment.

At all times material, Helen Victoria Warner is the designated registered agent for

service of process on the Defendant; authorized to accept service of process

pursuant to New York Law at 6500 NW 22" Street, Miami, FL 33122-2234.
GENERAL ALLEGATIONS APPLICABLE TO ALL COUNTS

At all times material, Defendant was responsible for providing its crew, agents,

servants, employees and contractors with standard industry training; basic medical

emergency training; instructions and information on its company’s policies and

industry standards.

At all times material, Defendant owed to its passengers a duty to act reasonably

and pursuant to industry standards.

At all times material, LATAM Flight Number 1439 was operated and serviced by

Defendant, its agents, servants, employees and contractors, who were carrying out

their duties and were acting within the scope of their employment.

On September 12, 2018, Plaintiff, a fare-paying passenger, boarded LATAM

Flight Number 1439.

On September 12, 2018, LATAM Flight Number 1439 departed from New York

City to Guayaquil, Ecuador.
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. On September 12, 2018, a LATAM flight attendant offered hot tea to Plaintiff; the
flight attendant placed the cup in the hands of Plaintiff, not on the tray. The flight
attendant said to Plaintiff “be careful, this is hot”. In receiving the cup, Plaintiff
immediately spilled the boiling tea on her left breast, armpit and side of her upper
body.
As a result of the negligent actions of LATAM flight attendant, Defendant caused
severe second-degree and third-degree burns to Plaintiffs body, more precisely
on Plaintiffs skin covering her thoracic and abdominal regions, breast, armpit,
and side of her upper body; causing Plaintiff's vital signs to become unstable.
As a result of the Defendant’s negligence, Plaintiff experienced intense and severe
pain; injuries; second-degree and third-degree burns; permanent scarring; loss of
feeling, and emotional distress.

NEGLIGENCE
At all relevant times, Defendant had a duty to act reasonably and pursuant to
industry standards.
At all relevant times, Defendant knew or should have known, using reasonable
care, that providing boiling water used to make tea, in a moving aircraft, without a
hot-cup sleeve, without securing the lid onto the cup, would create an
unreasonable risk of injury to fare-paying passengers.
At all relevant times, Defendant acted unreasonably by providing Plaintiff with
boiling water/tea, which was unfit for human consumption; and negligently by
failing to provide immediate first aid to Plaintiff to avoid aggravation of

Plaintiff's second-degree burns.
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19. At all relevant times, Defendant:
a. LATAM failed to reasonably utilize industry standard procedures;
b. LATAM failed to make an in-flight announcement inquiring on
whether there was any medical doctor aboard the aircraft who could assist
Plaintiff, as per reasonable standard procedures;
c. LATAM failed to timely notify paramedics of Plaintiff's medical
emergency, pursuant to industry standard procedures;
d. LATAM failed to timely request an ambulance to stand by the runway
for immediate medical assistance upon landing, pursuant to industry
standard procedures;
e. LATAM failed to first disembark Plaintiff and only thereafier allow
other passengers to disembark, pursuant to industry standard procedures
and LATAM’s own policies.

20. Defendant’s negligence, gross negligence, omission to act, with knowledge of the
probability of aggravation of Plaintiffs health condition, was an unusual and
unexpected event — which was external to Plaintiff's body.

21. Plaintiff's injuries were caused by the direct and proximate result of Defendant’s
negligence and reckless disregard to the probable consequences of its omissions.

REMEDY SOUGHT - DAMAGES

22. As a direct and proximate result of the defendant’s negligence, Plaintiff has
suffered damages including, but not limited to:

a. Pain and suffering, with permanent scarring and the need for
protracted and painful medical care;

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e.

Loss of income/lost wages;
Property damage;
Medical expenses;

Attorney’s fees, costs, expert witness fees, translation fees and other

expenses throughout the pendency of this action;

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Pre and post-judgment interest on all damages, and

Any and all other damages to which Plaintiff may be entitled under

applicable law, including The Montreal Convention, which establishes

strict liability against the Defendant in the amount of $175,000.

WHEREFORE, Plaintiff demands judgment against the Defendant for damages, costs

and such other relief as this Court deems appropriate. Furthermore, Plaintiff demands a

trial by jury.

Dated: New York, New York
December 17, 2018

Respectfully submitted,

Viana Law Firm P.C.

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By: Michelle Viana, Esq.

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